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 1                                                                   JUDGE BRYAN
 2                               UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON, AT TACOMA
 3

 4
     UNITED STATES OF AMERICA,                               )
                                                             )       NO. CR11-5408RJB
 5            Plaintiff,                                     )
                                                             )       ORDER ALLOWING WITHDRAWAL
 6   vs.                                                     )       AND SUBSTITUTION OF COUNSEL
                                                             )
 7   ALEXANDER WALLS,                                        )
                                                             )
 8            Defendant.                                     )
                                                             )
 9
     __________________________________________)
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11            THIS MATTER having come on regularly before the above-entitled Court upon the Motion of the
     Defendant, ALEXANDER WALLS, for new appointed counsel, the Court having considered the
12
     Defendant’s Motion and the Declaration of Counsel for the Defendant in support thereof, the Court having
13
     reviewed the files and records of this proceeding and in all respects being fully advised, now, therefore, it is
14   hereby
15            ORDERED that the appointed attorney for ALEXANDER WALLS, is hereby allowed to withdraw
     as counsel of record, effectively immediately. The CJA Administrator is directed to locate new counsel for
16
     said Defendant.
17
              DATED: January 25, 2013.
18

19

20
                                            A
                                            ROBERT J. BRYAN
21                                           United States District Judge
     Presented by
22   /s/ Thomas A. Cena, Jr.
     _______________________________________
23   THOMAS A. CENA, JR., WSBA NO. 6539
     Attorney for Defendant
24   Order                                                                                    THOMAS A. CENA, JR.
                                                                                                       Attorney at Law
25
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